
5 A.3d 60 (2010)
416 Md. 71
ATTORNEY GRIEVANCE COMMISSION OF MARYLAND, Petitioner
v.
Richard T. SIEJACK, Respondent.
Misc. Docket AG No. 19, Sept. Term, 2010.
Court of Appeals of Maryland.
September 28, 2010.

ORDER
Upon consideration of the Joint Petition for Indefinite Suspension By Consent filed herein pursuant to Maryland Rule 16-772, it is this 28th day of September, 2010,
ORDERED, by the Court of Appeals of Maryland, that Richard T. Siejack be, and he hereby is, indefinitely suspended by consent from the practice of law in the State of Maryland, effective November 1, 2010, with a right to petition for reinstatement no sooner than six months from the effective date of the suspension; and it is further
ORDERED, that the Clerk of this Court, on November 1, 2010, shall strike the name of Richard T. Siejack from the register of attorneys in this Court and, pursuant to Maryland Rule 16-772(d), shall certify to the Trustees of the Client Protection Fund of the Bar of Maryland and the clerks of all judicial tribunals in the state that the name of Richard T. Siejack has been so stricken.
